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 AO 458 (Rev. 06/09) Appearance of Counsel


                                      UNITED STATES DISTRICT COURT
                                                             for the
                                                   DistrictDistrict
                                              __________    of Columbia
                                                                    of __________


  DEMOCRACY FORWARD FOUNDATION, et al.        )
                              Plaintiff       )
                     v.                       )                        Case No.     18-cv-349 (CKK)
THE WHITE HOUSE OFFICE OF AMERICAN INNOVATION )
                  Defendant                   )

                                               APPEARANCE OF COUNSEL

 To:       The clerk of court and all parties of record

           I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Democracy Forward Foundation and Food & Water Watch, Inc.                                                     .


 Date:     6/7/18                                                                            /s/ Nitin Shah
                                                                                          Attorney’s signature

                                                                                          Nitin Shah, #156035
                                                                                      Printed name and bar number


                                                                                       1333 H Street, N.W.
                                                                                       Washington, DC 20005
                                                                                                Address

                                                                                     nshah@democracyforward.org
                                                                                             E-mail address

                                                                                            (202) 448-9090
                                                                                           Telephone number



                                                                                              FAX number
